             Case 2:19-bk-13214-SK                         Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                     Desc
                                                            Main Document    Page 1 of 10


Fill in this information to identify your case and this filing:


Debtor 1           Maryam                 Manzoori              Fard
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        __________
United States Bankruptcy Court for the: Central District of California
                                                      District of ___________

Case number         2:19-bk-13214-SK
                    ___________________________________________
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

                                 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         No. Go to Part 2.
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.
                                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                            the amount of any secured claims on Schedule D:
           1210 Via Esperanza
      1.1. _________________________________________                                                               Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
           Street address, if available, or other description
                                                                     Condominium or cooperative                    Current value of the     Current value of the
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             _________________________________________
                                                                     Land                                             1,500,000.00
                                                                                                                   $________________            750,000.00
                                                                                                                                            $_______________
                                                                     Investment property
              San Dimas               CA 91733
             _________________________________________                                                             Describe the nature of your ownership
                                                                     Timeshare
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                     Other __________________________________      the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee Simple
                                                                                                                   __________________________________________
              Los Angeles                                           Debtor 1 only
             _________________________________________
             County                                                 Debtor 2 only
                                                                    Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                      (see instructions)
                                                                    At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.
                                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                             the amount of any secured claims on Schedule D:
           1409 Manchester Road
      1.2. ________________________________________                                                                Creditors Who Have Claims Secured by Property.
                                                                    Duplex or multi-unit building
           Street address, if available, or other description
                                                                   Condominium or cooperative                      Current value of the     Current value of the
                                                                    Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                    Land                                                750,000.00
                                                                                                                   $________________              375,000.00
                                                                                                                                            $_________________
                                                                    Investment property
              San Dimas               CA 91773
             ________________________________________                                                              Describe the nature of your ownership
                                                                    Timeshare
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________       the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    Fee Simple
                                                                                                                   __________________________________________

                                                                   Debtor 1 only
             ________________________________________
             County                                                Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                   At least one of the debtors and another            (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
           Case 2:19-bk-13214-SK                         Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                               Desc
                                                          Main Document    Page 2 of 10

Debtor 1       Maryam                 Manzoori              Fard
               _______________________________________________________                                                         2:19-bk-13214-SK
                                                                                                        Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                                   the amount of any secured claims on Schedule D:
    1.3. ________________________________________                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description           Duplex or multi-unit building
                                                                     Condominium or cooperative                            Current value of the     Current value of the
                                                                                                                           entire property?         portion you own?
            ________________________________________                  Manufactured or mobile home
                                                                      Land                                                 $________________        $_________________

            ________________________________________
                                                                      Investment property
            City                    State   ZIP Code                  Timeshare                                            Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                      Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                          __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________                 Debtor 1 only
            County
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                                Check if this is community property
                                                                                                                               (see instructions)
                                                                     At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                     1,125,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes


   3.1.     Make:                       Hyundai
                                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
            Model:                      Santa Fe
                                       ______________
                                                                     Debtor 1 only
                                                                                                                           Creditors Who Have Claims Secured by Property.
                                        2013                         Debtor 2 only
            Year:                      ____________                                                                        Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only
            Approximate mileage:        130,000
                                       ____________
                                                                                                                           entire property?         portion you own?
                                                                     At least one of the debtors and another
            Other information:
                                                                                                                                   8,000.00
                                                                                                                           $________________                8,000.00
                                                                                                                                                    $________________
                                                                     Check if this is community property (see
                                                                     instructions)



   If you own or have more than one, describe here:

   3.2.    Make:                        Dodge
                                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:                      ______________
                                                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
           Year:                        2017
                                       ____________                                                                        Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only
                                 40,000
           Approximate mileage: ____________
                                                                                                                           entire property?         portion you own?
                                                                     At least one of the debtors and another
           Other information:
                                                                                                                                  13,000.00
                                                                                                                           $________________               13,000.00
                                                                                                                                                    $________________
                                                                     Check if this is community property (see
            Owe 15,000                                               instructions)




                                                                  Schedule A/B: Property                                                                    page 2
           Case 2:19-bk-13214-SK                                    Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                                                  Desc
                                                                     Main Document    Page 3 of 10

Debtor 1         Maryam                 Manzoori              Fard
                  _______________________________________________________                                                                              2:19-bk-13214-SK
                                                                                                                                Case number (if known)_____________________________________
                  First Name          Middle Name               Last Name




   3.3.     Make:                           ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:
            Model:                          ______________
                                                                                  Debtor 1 only
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
            Year:                           ____________                                                                                                Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
            Approximate mileage: ____________                                                                                                           entire property?            portion you own?
                                                                                  At least one of the debtors and another
            Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)


            Make:                           ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                        the amount of any secured claims on Schedule D:
                                                                                  Debtor 1 only
            Model:                          ______________                                                                                              Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
            Year:                           ____________                                                                                                Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
            Approximate mileage: ____________                                                                                                           entire property?            portion you own?
                                                                                  At least one of the debtors and another
            Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        No
        Yes


            Make:       ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                        the amount of any secured claims on Schedule D:
            Model:      ____________________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
            Year:       ____________
                                                                                  Debtor 1 and Debtor 2 only                                            Current value of the        Current value of the
            Other information:                                                    At least one of the debtors and another                               entire property?            portion you own?


                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                        the amount of any secured claims on Schedule D:
            Model:      ____________________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                                        entire property?            portion you own?
            Other information:                                                    At least one of the debtors and another

                                                                                                                                                        $________________           $________________
                                                                                  Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                        21,000.00
                                                                                                                                                                                   $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................




                                                                               Schedule A/B: Property                                                                                     page 3
            Case 2:19-bk-13214-SK                                          Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                                                           Desc
                                                                            Main Document    Page 4 of 10

Debtor 1          Maryam                 Manzoori              Fard
                   _______________________________________________________                                                                                          2:19-bk-13214-SK
                                                                                                                                             Case number (if known)_____________________________________
                    First Name           Middle Name                   Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                            portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe. ........           Furniture and Appkliances                                                                                                                                      3,000.00
                                                                                                                                                                                              $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
        No
        Yes. Describe. .........          2 TVs, 2 cell phones                                                                                                                                           1,000.00
                                                                                                                                                                                              $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      No
      Yes. Describe. .........                                                                                                                                                                               0.00
                                                                                                                                                                                              $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
        No
        Yes. Describe. .........                                                                                                                                                                             0.00
                                                                                                                                                                                              $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe. ..........                                                                                                                                                                            0.00
                                                                                                                                                                                              $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe. ..........         Everyday clothes                                                                                                                                                 300.00
                                                                                                                                                                                              $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
        No
        Yes. Describe. ..........                                                                                                                                                                          500.00
                                                                                                                                                                                              $___________________
                                          Various Jewelry
13. Non-farm animals
   Examples: Dogs, cats, birds, horses

        No
        Yes. Describe. ..........                                                                                                                                                                            0.00
                                                                                                                                                                                              $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

        No
        Yes. Give specific                                                                                                                                                                                   0.00
                                                                                                                                                                                              $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                             4,800.00
                                                                                                                                                                                              $______________________
   for Part 3. Write that number here ....................................................................................................................................................



                                                                                      Schedule A/B: Property                                                                                              page 4
           Case 2:19-bk-13214-SK                                                  Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                                                                    Desc
                                                                                   Main Document    Page 5 of 10

Debtor 1         Maryam                 Manzoori              Fard
                  _______________________________________________________                                                                                                           2:19-bk-13214-SK
                                                                                                                                                             Case number (if known)_____________________________________
                   First Name              Middle Name                       Last Name




Part 4:      Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                                                                                  Current value of the
                                                                                                                                                                                                             portion you own?
                                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                                             or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      No
      Yes ................................................................................................................................................................   Cash: .......................                  0.00
                                                                                                                                                                                                              $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes .....................                                                                 Institution name:


                                            17.1. Checking account:                             Ethos Design Inc,.- Hanml
                                                                                                _________________________________________________________                                                                 812.89
                                                                                                                                                                                                              $__________________

                                            17.2. Checking account:                             Hanmi Personal
                                                                                                _________________________________________________________                                                                 476.46
                                                                                                                                                                                                              $__________________

                                            17.3. Savings account:                              _________________________________________________________                                                                   0.00
                                                                                                                                                                                                              $__________________

                                            17.4. Savings account:                              _________________________________________________________                                                                   0.00
                                                                                                                                                                                                              $__________________

                                            17.5. Certificates of deposit:                      _________________________________________________________                                                                   0.00
                                                                                                                                                                                                              $__________________

                                            17.6. Other financial account:                      Hanjmi Bank Bujsiness
                                                                                                _________________________________________________________                                                               1,327.16
                                                                                                                                                                                                              $__________________

                                            17.7. Other financial account:                      _________________________________________________________                                                                   0.00
                                                                                                                                                                                                              $__________________

                                            17.8. Other financial account:                      _________________________________________________________                                                                   0.00
                                                                                                                                                                                                              $__________________

                                            17.9. Other financial account:                      _________________________________________________________                                                                   0.00
                                                                                                                                                                                                              $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes .................                 Institution or issuer name:

                                            _________________________________________________________________________________________                                                                                       0.00
                                                                                                                                                                                                              $__________________
                                            _________________________________________________________________________________________                                                                                       0.00
                                                                                                                                                                                                              $__________________
                                            _________________________________________________________________________________________                                                                                       0.00
                                                                                                                                                                                                              $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

      No                                    Name of entity:                                                                                                                  % of ownership:
      Yes. Give specific                     Ethos Design
                                            _____________________________________________________________________                                                            5,000%
                                                                                                                                                                             ___________%                              50,000.00
                                                                                                                                                                                                              $__________________
      information about
      them.........................         _____________________________________________________________________                                                             0%
                                                                                                                                                                             ___________%                                   0.00
                                                                                                                                                                                                              $__________________
                                            _____________________________________________________________________                                                             0%
                                                                                                                                                                             ___________%                                   0.00
                                                                                                                                                                                                              $__________________




                                                                                              Schedule A/B: Property                                                                                                      page 5
           Case 2:19-bk-13214-SK                                  Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                  Desc
                                                                   Main Document    Page 6 of 10

Debtor 1        Maryam                 Manzoori              Fard
                 _______________________________________________________                                                        2:19-bk-13214-SK
                                                                                                         Case number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments                                          , promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       No
       Yes. Give specific               Issuer name:
       information about
                                        ______________________________________________________________________________________                             0.00
                                                                                                                                             $__________________
       them.......................
                                        ______________________________________________________________________________________                             0.00
                                                                                                                                             $__________________
                                        ______________________________________________________________________________________                             0.00
                                                                                                                                             $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       No
       Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________                      0.00
                                                                                                                                             $__________________

                                        Pension plan:             ___________________________________________________________________
                                                                                                                                                           0.00
                                                                                                                                             $__________________

                                        IRA:                      Acct
                                                                  ___________________________________________________________________                 40,000.00
                                                                                                                                             $__________________

                                        Retirement account:       ___________________________________________________________________                      0.00
                                                                                                                                             $__________________

                                        Keogh:                    ___________________________________________________________________                      0.00
                                                                                                                                             $__________________

                                        Additional account:       ___________________________________________________________________                      0.00
                                                                                                                                             $__________________

                                        Additional account:       ___________________________________________________________________                      0.00
                                                                                                                                             $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

       No
       Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________         $___________________
                                        Gas:                  ______________________________________________________________________
                                                                                                                                             $___________________
                                        Heating oil:          ______________________________________________________________________         $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                             $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                             $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                             $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                             $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                             $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                             $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       No
       Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________             $__________________
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________


                                                                           Schedule A/B: Property                                                        page 6
           Case 2:19-bk-13214-SK                                Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                       Desc
                                                                 Main Document    Page 7 of 10

Debtor 1        Maryam                 Manzoori              Fard
                 _______________________________________________________                                                      2:19-bk-13214-SK
                                                                                                       Case number (if known)_____________________________________
                  First Name            Middle Name          Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
                                      529A(b), and 529(b)(1).
       No
       Yes ....................................                                                                                              :

                                                  ____________________________________________________________________________________                        0.00
                                                                                                                                                 $_________________
                                                   0.00
                                                  ____________________________________________________________________________________                        0.00
                                                                                                                                                 $_________________
                                                  ____________________________________________________________________________________                        0.00
                                                                                                                                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

       No
       Yes. Give specific
       information about them. ...                                                                                                                             0.00
                                                                                                                                                 $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific
       information about them. ...                                                                                                                             0.00
                                                                                                                                                 $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       No
       Yes. Give specific
       information about them. ...                                                                                                               $__________________


Money or property owed to you?                                                                                                                   Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

       No
       Yes . Give specific information                                                                               Federal:                             0.00
                                                                                                                                             $_________________
             about them, including whether
             you already filed the returns                                                                           State:                               0.00
                                                                                                                                             $_________________
             and the tax years. .......................                                                                                                   0.00
                                                                                                                     Local:                  $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information. .............
                                                                                                                    Alimony:                                 0.00
                                                                                                                                                 $________________
                                                                                                                    Maintenance:                             0.00
                                                                                                                                                 $________________
                                                                                                                    Support:                                 0.00
                                                                                                                                                 $________________
                                                                                                                    Divorce settlement:                      0.00
                                                                                                                                                 $________________
                                                                                                                    Property settlement:                     0.00
                                                                                                                                                 $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benef                                                         sation,
             Social Security benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information. ..............
                                                                                                                                                                   0.00
                                                                                                                                                 $______________________



                                                                         Schedule A/B: Property                                                            page 7
            Case 2:19-bk-13214-SK                                          Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                                                           Desc
                                                                            Main Document    Page 8 of 10

Debtor 1          Maryam                 Manzoori              Fard
                   _______________________________________________________                                                                                          2:19-bk-13214-SK
                                                                                                                                             Case number (if known)_____________________________________
                    First Name           Middle Name                   Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA)
        No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                  Surrender or refund value:
             of each policy and list its value. ...
                                                                     ___________________________________________ ____________________________                                                                0.00
                                                                                                                                                                                               $__________________

                                                                     ___________________________________________ ____________________________                                                                0.00
                                                                                                                                                                                               $__________________
                                                                     ___________________________________________ ____________________________                                                                0.00
                                                                                                                                                                                               $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
        No
        Yes. Give specific information. .............
                                                                                                                                                                                                                0.00
                                                                                                                                                                                               $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim. ....................
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                               $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
        No
        Yes. Describe each claim. ....................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                               $_____________________




35. Any financial assets you did not already list

        No
        Yes. Give specific information............                                                                                                                                                              0.00
                                                                                                                                                                                               $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................               92,616.51
                                                                                                                                                                                               $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

        No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

38. Accounts receivable or commissions you already earned

        No
        Yes. Describe .......
                                                                                                                                                                                                              0.00
                                                                                                                                                                                             $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        No
        Yes. Describe .......                                                                                                                                                                               800.00
                                                                                                                                                                                             $_____________________
                                     Computer, Fax Machine, Racks


                                                                                      Schedule A/B: Property                                                                                              page 8
            Case 2:19-bk-13214-SK                                          Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                                                          Desc
                                                                            Main Document    Page 9 of 10

Debtor 1          Maryam                 Manzoori              Fard
                   _______________________________________________________                                                                                          2:19-bk-13214-SK
                                                                                                                                             Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        No
        Yes. Describe .......                                                                                                                                                                                 0.00
                                                                                                                                                                                             $_____________________



41. Inventory
        No
        Yes. Describe .......                                                                                                                                                                            50,000.00
                                                                                                                                                                                             $_____________________


42. Interests in partnerships or joint ventures

        No
        Yes. Describe ....... Name of entity:                                                                                                                        % of ownership:
                                         ______________________________________________________________________                                                      ________%                                0.00
                                                                                                                                                                                             $_____________________
                                         ______________________________________________________________________                                                      ________%                                0.00
                                                                                                                                                                                             $_____________________
                                         ______________________________________________________________________                                                      ________%                                0.00
                                                                                                                                                                                             $_____________________


43. Customer lists, mailing lists, or other compilations
        No
        Yes. Do your lists include personally identifiable information                                                                                               ?
                      No
                      Yes. Describe. .......
                                                                                                                                                                                                              0.00
                                                                                                                                                                                              $____________________


44. Any business-related property you did not already list
        No
        Yes. Give specific                                                                                                                                                                                    0.00
                                         ______________________________________________________________________________________                                                               $____________________
        information .........
                                         ______________________________________________________________________________________                                                                               0.00
                                                                                                                                                                                              $____________________

                                         ______________________________________________________________________________________                                                                               0.00
                                                                                                                                                                                              $____________________

                                         ______________________________________________________________________________________                                                                               0.00
                                                                                                                                                                                              $____________________

                                         ______________________________________________________________________________________                                                                               0.00
                                                                                                                                                                                              $____________________

                                         ______________________________________________________________________________________                                                                               0.00
                                                                                                                                                                                              $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                          50,800.00
                                                                                                                                                                                              $____________________
   for Part 5. Write that number here ....................................................................................................................................................




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
        No
        Yes ..........................

                                                                                                                                                                                                              0.00
                                                                                                                                                                                               $___________________



                                                                                      Schedule A/B: Property                                                                                              page 9
               Case 2:19-bk-13214-SK                                            Doc 23 Filed 04/09/19 Entered 04/09/19 00:29:51                                                                              Desc
                                                                                Main Document    Page 10 of 10

 Debtor 1            Maryam                 Manzoori              Fard
                      _______________________________________________________                                                                                              2:19-bk-13214-SK
                                                                                                                                                    Case number (if known)_____________________________________
                       First Name            Middle Name                   Last Name




48.

           No
           Yes. Give specific
           information. ............                                                                                                                                                                                   0.00
                                                                                                                                                                                                        $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
           No
           Yes ..........................
                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                        $___________________

50. Farm and fishing supplies, chemicals, and feed

           No
           Yes ..........................
                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                        $___________________

51. Any farm- and commercial fishing-related property you did not already list
           No
           Yes. Give specific
           information. ............                                                                                                                                                                                   0.00
                                                                                                                                                                                                        $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                        $___________________
      for Part 6. Write that number here ....................................................................................................................................................




Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

           No
                                            Land in Arizona                                                                                                                                                      5,000.00
                                                                                                                                                                                                         $________________
           Yes. Give specific
           information. ............                                                                                                                                                                                  0.00
                                                                                                                                                                                                          $________________
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                          $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................
                                                                                                                                                                                                                  5,000.00
                                                                                                                                                                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................
                                                                                                                                                                                                           1,125,000.00
                                                                                                                                                                                                        $________________

56. Part 2: Total vehicles, line 5
                                                                                                                          21,000.00
                                                                                                                   $________________

57. Part 3: Total personal and household items, line 15
                                                                                                                           4,800.00
                                                                                                                   $________________

58. Part 4: Total financial assets, line 36
                                                                                                                          92,616.51
                                                                                                                   $________________

59. Part 5: Total business-related property, line 45
                                                                                                                          50,800.00
                                                                                                                   $________________

60. Part 6: Total farm- and fishing-related property, line 52
                                                                                                                               0.00
                                                                                                                   $________________

61. Part 7: Total other property not listed, line 54                                                                      5,000.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ....................
                                                                                                                         174,216.51 Copy personal property total
                                                                                                                    $________________                                                                          174,216.51
                                                                                                                                                                                                       + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................
                                                                                                                                                                                                            1,299,216.51
                                                                                                                                                                                                        $_________________



                                                                                           Schedule A/B: Property                                                                                                page 10
